       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN



                                     NO. 03-23-00304-CR



                                   Daniel Perry, Appellant

                                               v.

                                 The State of Texas, Appellee


               FROM THE 147TH DISTRICT COURT OF TRAVIS COUNTY
   NO. D-1-DC-21-900007, THE HONORABLE CLIFFORD A. BROWN, JUDGE PRESIDING



                           MEMORANDUM OPINION


              Appellant Daniel Perry has filed a motion to dismiss his appeal. 1 We grant the

motion and dismiss the appeal. See Tex. R. App. P. 42.2(a), 43.2(f).



                                            __________________________________________
                                            Edward Smith, Justice

Before Justices Baker, Kelly, and Smith

Dismissed on Appellant’s Motion

Filed: August 27, 2024

Do Not Publish


       1  Texas Rule of Appellate Procedure 42.2(a) allows an appellate court to dismiss an
appeal upon the appellant’s motion if it is signed by both the appellant and his or her attorney.
See Tex. R. App. P. 42.2(a). Although appellant did not sign the motion to dismiss, he
subsequently signed and filed a “Consent to Dismiss Appeal.”
